Plaintiff in both actions is lessee of certain tide-lands belonging to the state and situated in the county of Los Angeles, which assessed the leasehold and levied a tax thereon. Plaintiff paid the tax under protest, and in due time sued to recover the same.
Judgment went for plaintiff, from which defendant has appealed.
[1] The sole question involved is whether a leasehold interest in tide and submerged lands owned by the state is subject to assessment and taxation under the revenue laws thereof. The subject is fully discussed and answered in the affirmative by what is said in the opinion in the case ofSan Pedro, Los Angeles  Salt Lake R. R. Co. v. City of LosAngeles, ante, p. 18, [179 P. 393], which involved a like *Page 32 
question. Upon the authority thereof, the judgments in both cases are reversed.
Victor E. Shaw, J., pro tem., Sloss, J., Wilbur, J., Richards, J., pro tem., and Angellotti, C. J., concurred.